            Case 2:20-cr-00440-SDW Document 56 Filed 11/29/21 Page 1 of 1 PageID: 279


                                    UNITED STATES DISTRICT COURT
                                      DISTRICT OF NEW JERSEY

   UNITED STATES v. JOSHUA KANE                 Docket. No. 20-440                              SBI: 546036E

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                                                 PETITION FOR
                                   WRIT         OF HABEAS CORPUS

1. JOSHUA KANE, SBI#: 546036E, DOB: 9/18/1995 is now confined at ESSEX COUNTY JAIL, 354
   Doremus Avenue, Newark, NJ 07105.

  2. Said individual will be required at NEWARK, New Jersey, before the Hon. Susan D. Wigenton for a
  plea hearing via VIDEOCONFERENCE on Thursday, December 2, 2021 at 11:00 a.m. A Writ of
  Habeas Corpus should be issued for that purpose.

  DATED: November 29, 2021                                                    /s/ Angelica M. Sinopole
                                                                              ANGELICA M. SINOPOLE
                                                                              ASSISTANT U.S. ATTORNEY
  -------------------------------------------------------------------------------------------- ---------------------- --
                                                         ORDER
  Let the Writ Issue.

          November 29,
  DATED: _____________________ 2021
                                                                              Hon. Susan D. Wigenton
                                                                              UNITED STATES DISTRICT JUDGE
  --------------------------------------------------------------------------------------·--- -------·---------------------
                                  WRIT          OF       HABEAS             CORPUS

  The United States of America to the Essex County Jail, Newark, New Jersey

            WE COMMAND YOU that you have the body of

                                 JOSHUA KANE, SBI#: 546036E, DOB: 9/18/1995

  now confined at the ESSEX COUNTY JAIL, 354 Doremus Avenue, Newark, NJ 07105, be brought before
  the United States District Court, Hon. Susan D. Wigenton for a plea hearing via VIDEOCONFERENCE on
  Thursday, December 2, 2021 at 11:00 a.m. so that he may appear for in the above-captioned matter.

                  WITNESS Susan D. Wigenton
                  UNITED STATES DISTRICT JUDGE
                  Newark, New Jersey

  DATED: November 29, 2021                           WILLIAM T. WALSH
                                                     Clerk of the U.S. District Court
                                                     for the District of New Jersey

                                                             Carmen D. Soto
                                                     Per:
                                                            -- ----------
                                                             Deputy
